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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
  United States of America,      )
                                 )
             Plaintiff,          ) DEFENDANT’S POSITION REGARDING
                                 ) SENTENCING
  vs.                            )
                                 )
  Travis Kyle Mayer,             ) Criminal No. 19-96 (WMW/HB)
                                 )
             Defendant.          )


       Defendant Travis Kyle Mayer, through his counsel, Daniel L. Gerdts, Esq.,

respectfully submits this Position Regarding Sentencing pursuant to Local Rule

83.10(e).

                 OBJECTIONS TO THE PRESENTENCE REPORT

       There are continuing objections to the presentence report that remain

unresolved. In addition to the objections that had been noted previously, there are a

variety of additional objections to assertions and conclusions in the final presentence

report that were not included in the original presentence report. All of these unresolved

objections are set forth below.

I. Statutory Penalties.

       One set of objections to the presentence report concerns the applicable statutory

penalties for the various counts of convictions. The potentially most serious of these is

whether the enhanced penalty of mandatory life imprisonment, under § 3559(e),
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applies in this case. As a matter of law, § 3559(e) does not apply to any count of

conviction in this case.

      18 U.S.C. § 3559(e) requires the enhanced penalty of life imprisonment only if

the offender is presently convicted of a “Federal sex offense” in which a minor is the

victim and has a “prior sex conviction” in which a minor was the victim. The statute

defines “minor” as a person less than 17 years of age, and defines “prior sex

conviction” very narrowly to include only convictions for the following enumerated

federal offenses (or their state law equivalents if there was no federal jurisdiction):

§§ 1591, 2241, 2242, 2244(a)(1), 2245, 2251, 2251A, 2422(b), and 2423(a). Defendant

has not previously been convicted of any of the enumerated federal offenses, nor has

he been convicted of any state law equivalent.

      The Government appears nonetheless to contend both that Defendant has a prior

Minnesota conviction under Minnesota Statutes, section 609.344, subdivision 1(b)

(2010), for Attempted Third Degree Criminal Sexual Conduct; and that the alleged

conviction qualifies as a predicate offense. The applicable law, however, does not

support its position. According to § 3559, “the term ‘prior sex conviction’ means a

conviction for which the sentence was imposed before the conduct occurred

constituting the subsequent Federal sex offense, and which was for a Federal sex

offense or a State sex offense.” 18 U.S.C. § 3559(e)(2)(C). The Supreme Court also

has held, consistent with the Sixth Amendment, that only a jury, and not a judge, may


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find facts that increase a maximum penalty, except for the simple fact of a prior

conviction. Apprendi v. New Jersey, 530 U.S. 466, 490 (2000). It also has held that

“[m]andatory minimum sentences increase the penalty for a crime . . . [and therefore]

any fact that increases the mandatory minimum is an ‘element’ that must be submitted

to the jury.” Alleyne v. United States, 570 U.S. 99, 103 (2013).

      The enhanced sentence prescribed by 18 U.S.C. § 3559(e) may not therefore

constitutionally be imposed on a defendant unless a jury first makes the following two

factual findings by proof beyond a reasonable doubt: 1) the alleged qualifying offense

was one in which a minor was the victim; and 2) the sentence for the alleged offense

was imposed before the conduct occurred constituting the subsequent Federal sex

offense. In this case, the Court did ask the jury to make a special fact finding regarding

whether the victim of the alleged offense was a minor. It failed, however, to have the

jury determine whether the imposition of sentence on the alleged conviction occurred

before the conduct constituting the Federal sex offense that is the subject of sentencing.

The Court may not make the required fact finding itself without violating Defendant’s

Sixth Amendment right to a jury trial.

      Even if the requisite factual findings had been made by the jury, the alleged prior

sex offense would not qualify as a predicate offense for imposition of the enhanced

statutory penalty. In making this determination, the Court must employ the formal

categorical approach: “To determine whether a prior offense qualifies as a predicate


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offense for the purpose of a statutory mandatory minimum or a sentencing

enhancement, federal courts employ a ‘formal categorical approach’ which requires

that the sentencing court ‘look only to the fact of conviction and the statutory definition

of the prior offense.’” United States v. Pierson, 544 F.3d 933, 942 (8th Cir. 2008);

accord Descamps v. United States, 570 U.S. 254 (2013). The version of Minnesota

Statutes, section 609.344, subdivision 1(b), in effect at the time of the alleged offense

made it a felony for a person to “engage[] in sexual penetration with another person”

when “the complainant is at least 13 but less than 16 years of age and the actor is more

than 24 months older than the complainant.” Minn. Stat. § 609.344, subd. 1(b) (2010).

Apart from the required age of the complainant, and the difference in age with the

actor, the required element of the offense is sexual penetration.1

      The elements of the Minnesota offense of Attempted Third Degree Criminal

Sexual Conduct do not directly correspond with any of the federal offenses enumerated

as qualifying predicate offenses by § 3559(e). The only potential federal predicate

offense to which they even come close is 18 U.S.C. § 2422(b), which makes it a crime

knowingly to “persuade[], induce[], entice[], or coerce[] any individual who has not

attained the age of 18 years, to engage in prostitution or any sexual activity for which

any person can be charged with a criminal offense, or attempts to do so . . . .” The


1
  An “attempt” conviction under Minnesota law requires that the actor, “with intent
to commit a crime, does an act which is a substantial step toward, and more than
preparation for, the commission of the crime.” Minn. Stat. § 609.17.

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elements of the two offenses obviously do not correspond (both the act and the intent

elements are distinct), but it is not necessary for the Court to engage in such an analysis

because § 3559(e)(3) specifically provides that “[a]n offense described in section

2422(b) . . . shall not serve as a basis for sentencing under this subsection if the

defendant establishes by clear and convincing evidence that . . . no sexual act or activity

occurred.” (emphasis added). The same provision prohibits the use of a prior 2422(b)

conviction (or its state court equivalent) even if sexual activity did occur, so long as

the sexual activity was consensual and not for commercial gain.

      The alleged conviction at issue was for “attempted” criminal sexual conduct

precisely because no sexual act or activity occurred. Defendant’s alleged prior

conviction for Minnesota Attempted Third Degree Criminal Sexual Conduct therefore

does not qualify as a predicate offense for the application of § 3559(e) because its

elements do not correspond to the elements of any of the enumerated federal predicate

offenses, and the only offense to which it even comes close cannot serve as a predicate

offense without the offense including some kind of non-consensual or commercial

sexual activity.

      The general statutory penalties for the counts alleging production, receipt, and

distribution of child pornography also are at issue, and Defendant objects to the

enhanced statutory penalties suggested by the presentence report. The statutory penalty

range for the production counts should be only 15 to 30 years because Defendant’s


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alleged prior state court conviction is not a conviction “under the laws of any State

relating to aggravated sexual abuse, sexual abuse, abusive sexual contact involving a

minor or ward, or sex trafficking of children, or the production, possession, receipt,

mailing, sale, distribution, shipment, or transportation of child pornography,” as

required by 18 U.S.C. § 2251(e). Likewise, the statutory penalty for the receipt and

distribution of child pornography counts should be only 5 to 20 years, for the same

reason that Defendant’s alleged prior state court conviction does not qualify to trigger

the enhanced penalties under the identical language in 18 U.S.C § 2252(b)(1). The

same analysis applies to the possession of child pornography charge, capping its

statutory maximum at 10 years. 18 U.S.C § 2252(b)(2).

      The analysis to be employed by the Court is the same categorical approach

referenced above, with the only distinction being whether the elements of the

Minnesota crime of attempted third degree criminal sexual conduct relate to

aggravated sexual abuse, sexual abuse, or abusive sexual contact involving a minor or

ward. The Court also enjoys an advantage with regard to this analysis because the

Eighth Circuit already has concluded that mere solicitation offenses do not merit the

statutory penalty enhancement. In United States v. Pierson, 544 F.3d 933, 942 (8th Cir.

2008), the court analyzed a prior conviction under a divisible Iowa statute that

prohibited sexual fondling and touching conduct in its first two subdivisions, as well

as two sexual solicitation offenses in the third and fourth subdivisions. The court


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concluded “[a] conviction under subsections 1 or 2 of § 709.12 would qualify as a prior

conviction for abusive sexual contact subjecting Pierson to a § 2251(e) 25 year

mandatory minimum sentence . . . . A conviction under subsections 3 or 4 would not,

however.” Id. The same logic that prohibits the use of a solicitation conviction would

likewise prohibit the use of a mere attempt conviction to serve as a predicate for the

enhanced statutory penalties under §§ 2251(e) and 2252(b).

II.   Other Objections.

      Defendant persists in his objections to a variety of factual assertions in the

presentence report, including those in the newly numbered paragraphs referenced

below:

      Para. 8: Defendant objects to factual assertion that he was convicted of the

alleged “Attempted third degree criminal sexual conduct.”

      Para. 9: Defendant objects to all factual assertions in the first sentence.

      Para. 11: It was parole officers who performed the supervised release

compliance check. Detective Mortensen accompanied them on the basis of the Google

tip. Defendant did not attempt to delete any content from his phone, he merely turned

it off. Detective Mortensen testified at trial that the clothing referenced was found in a

large box of additional clothing, all of which he suspected may have been related to a

recent theft from a laundromat, but it formed no basis to support the violation of

supervised release. That was based on possession of the phone and alcohol and failure


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to enter into a drug treatment program. There also was no note making any reference

to “an imgsrc.ru” A photograph of the note was submitted as Exhibit 4.

      Para. 14: Defendant’s identity on ChatGum was “AlbertLea420.” It was Ms.

D.M. who initiated communications with Mr. Mayer. They later transitioned to

communications on Kik, where Mayer used “Tyler Cole” as his username. His profile

did not specify an age; that was an oral communication. Ms. D.M. did not at that time

represent herself to be 15-years-old.

      Para. 15: Much of this paragraph is objected to as inaccurate and contradicted

by the record. For example, the phrase “the defendant manipulated D.M. into believing

they were in a relationship” is nonsense. They were indeed in a relationship. It was not

a relationship that society approves of, but it certainly was a relationship. Ms. D.M.,

who testified at trial as an adult, confirmed under oath both the relationship and her

love for Mr. Mayer. Mr. Mayer also testified that he loved Ms. D.M.

      Mr. Mayer did not “pretend” that he was caring for a young daughter. The girl,

referenced also in paragraph 129 was the very real daughter of his ex-girlfriend whom

he considered as his own and cared for while the mother worked her shifts at the Taco

John’s restaurant near the motel where he stayed.

      While acknowledging the jury’s contrary conclusion, Defendant also objects to

the assertion that he “coerced and enticed” Ms. D.M. to take the photos that she very

voluntarily and independently produced.


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      Para. 17: The third sentence is not accurate. Mayer sent the images that Ms.

D.M. had produced to her mother Loretta who was in possession of Ms. D.M.’s phone

at the time that they were sent. Loretta had asked Mayer to send them so she could see

what they were. Ms. D.M. obviously already knew that Mayer possessed the images –

it was she after all who had sent them to him in the first place – Mayer did not need to

convince her that he had them.

      Para. 23: While Defendant Mayer cannot comment on the FBI examination or

its findings, he persists in noting for the record that he was unaware of the contraband

found on the phone.

      Para. 24: Same as above in paragraph 23.

      Para. 28: There has been no allegation that “an identifiable victim or victims has

suffered a physical injury or pecuniary loss” in this case, therefore 18 U.S.C. §

3663A(c)(1)(B) does not authorize restitution.

      Para. 30: This paragraph suffers from a grammatical or other drafting error that

renders it unintelligible. Defendant does not know how to respond to it.

      Para. 34: The charge of obstruction of justice (charged in Count 9) was not

related in any way to the prosecution of Counts 1, 2, or 6, and could not have been by

definition. The final version of this paragraph also includes a litany of additional

allegations that were not set forth in the original presentence report, and have not been

alleged or proven previously. Defendant objects to all of the additional factual


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assertions and legal conclusions in this paragraph.

      Para. 35: There is no evidence whatsoever that defendant “attempted to

manipulate” his phone in 2017, and there was no investigation of any of the allegations

in the indictment at the time that his phone was seized. Indeed, there could not have

been because the offense conduct did not take place until the following year.

      Para 36: Mr. Mayer took the stand and explicitly acknowledged and accepted

responsibility for the alleged conduct in Counts 3, 4, and 9.

      Para. 39: Count 5 does not involve a separate and distinct harm from that alleged

in Counts 1 and 2 – it rather very explicitly incorporates in its allegation all of the

conduct and harm alleged in Counts 1 and 2. Counts 1, 2, 3, and 5 should be grouped

under §3D1.2(b). Indeed, Count 5 merely alleges the overall scheme or plan that

included the conduct alleged in both Counts 1 and 2.

      Para. 46: This enhancement does not apply because “sexual contact” as defined

in 18 U.S.C. § 2246(3) requires that the actor have the specific intent “to abuse,

humiliate, harass, degrade, or arouse or gratify the sexual desire of any person.” The

actor in this case was Ms. D.M. There is no evidence regarding her intent when she

touched herself. While it is possible that her intent was to gratify her sexual desires,

the evidence in support of that proposition is entirely absent in this case. If her intent

was merely to produce a pornographic video, the adjustment expressly does not apply.

      Para. 47: If the material distributed in Count 3 was produced during the


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commission of the offense alleged in Count 1, then this adjustment applies; if not, then

it does not. Defendant objects to the implied factual finding that it was, and to the

corresponding conclusion that the enhancement applies.

      Para. 48: Because the offense involved the use of a computer, this adjustment

would apply; Defendant Mayer specifically objects to the other suggested bases as

unfounded and untrue.

      Para. 51: This paragraph is objected to in its entirety, both as to the various

factual assertions and in the conclusion that the obstruction of justice enhancement

applies. The original version of the presentence report concluded that the enhancement

did not apply to this grouping, and it was correct.

      Para. 52: This revised adjusted offense level is incorrect for the reasons set forth

above.

      Para. 55: This adjustment does not apply for the reasons stated in the objection

to paragraph 46 above.

      Para. 56: Same objection as noted in the objection to paragraph 48 above.

      Para. 59: Same comments and objections as noted in the objection to paragraph

51 above. The original presentence report again concluded that the enhancement did

not apply to this grouping, and it was correct.

      Para. 60: Same objection as noted regarding paragraph 52 above.

      Para. 63: Defendant objects to this paragraph in its entirety. There is absolutely


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no evidence, or even an allegation, that Defendant “knowingly engaged in distribution

of child pornography on the Russian website.” It is patently false, pure and simple, and

Defendant objects to all factual assertions in the paragraph and the adjustment applied.

      Para. 64: Defendant objects both to the factual assertions in this paragraph and

to the 4-level adjustment as completely unsupported.

      Para. 65: This adjustment does not apply to this guidelines calculation merely

because more than one image was involved.

      Para. 67: Defendant Mayer objects both to the factual assertions in this

paragraph and to the application of the adjustment.

      Para. 70: Once again this version of the presentence report erroneously includes

an adjustment for obstruction of justice that contradicts the original version. Same

objection as to paragraphs 51 and 59 above.

      Para. 73: Defendant Mayer objects both to the factual assertions in this

paragraph and to the application of the adjustment.

      Para. 75: This adjustment does not apply for the same reasons as set forth in the

objections to paragraph 46 above.

      Paras. 76 through 83: All of these paragraphs are new to this version of the

presentence report. Defendant objects to each of the new factual assertions and legal

conclusions.

      Para. 84: Same objection as noted to paragraph 52 above.


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       Para. 85: Based on the objections above, there should be only two groups.

       Para. 86: This conclusion is erroneous for the reasons set forth above.

       Para. 87: Only 1 level is added pursuant to §3D1.4.

       Para. 88: The resulting combined adjusted offense level is incorrect for the

reasons set forth above.

       Para. 89: Defendant objects to the alleged fact of a prior sex conviction. §4B1.5

(a)(1) does not apply.

       Para. 91: The total offense level is incorrect for the reasons set forth above.

       Para. 103: This conviction was not for “Mail Theft,” but for the amended charge

of “possession of stolen mail.”

       Para. 107: Defendant objects to all alleged factual assertions in this paragraph,

and to the fact of conviction itself.

       Para. 111: The two criminal history points do not apply because he was not

under any criminal justice sentence during the allegations in this case.

       Para. 131. Defendant objects to the second sentence. Defendant is not subject to

a mandatory term of life: See discussion above.

       Para. 135: This paragraph correctly states that Defendant has never enrolled in

any sex offender treatment program, and therefore could never have been terminated

from one either successfully or unsuccessfully.

       Para. 150: There is no statutory provision requiring a mandatory term of life


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imprisonment on any count. This paragraph also erroneously specifies mandatory

minimum sentences for counts 3, 4, and 7 that are not correct because Defendant does

not have the required predicate prior conviction to trigger the increased minimum

sentences. See discussion above.

        Para. 152: The guideline range is incorrect for the reasons set forth above.

        Para. 161: Defendant obviously is indigent, so this provision does not apply.

                         ADDITIONAL CONSIDERATIONS
                         AND SENTENCING SUGGESTION

        This case obviously is more complex in its sentencing calculus than the average

case, and the Court’s resolution of the legal issues raised will significantly affect the

final sentencing guidelines calculation. Defendant respectfully reserves the right to

make further arguments and observations after the final guidelines rulings have been

made.

        The circumstances of this case, however, set it greatly apart from the average

case in which the sentencing guidelines are driven largely by counts of conviction

arising from the production of child pornography. Indeed, it is an extremely rare case

in which a defendant is convicted of the production of child pornography despite

having personally produced no child pornography at all. All of the pictures and videos

charged in this case were taken or filmed, not by the Defendant, but by the alleged

victim. And despite the suggestion by the prosecution that she took pictures of herself

because she was “vulnerable” and coerced by Defendant’s requests, the testimony at

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trial and the available public information suggests completely the opposite.

      According to a recent report by the Utah Deseret News, the practice of teens

sending each other nude photographs of themselves “is a huge problem and seems to

be a normal behavior in school today. . . . They do it for fun, they say. They’re doing

it because someone asked them to. They’re doing it to get somebody to like them better.

They’re doing it because someone sent them one. For many, it seems it has become a

way of flirting,” Pat Reavy, Nude selfies a big problem in Utah schools, officials warn,

Deseret    News,     14     March     2017     (emphasis     added);     available    at

http://www.deseretnews.com/article/865675531/Nude-selfies-a-big-problem-in-

Utah-schools-officials-warn.html). And it is not just in the United States, “A Bristol

study recently found ‘sexting’ has fast become the norm in teenage courtship, with

almost half of 13 to 17-year-old girls saying they have been sent explicit pictures and

videos, and two in five admitting to sending them back.” Tanith Carey, The Daily Mail,

3 February 2016; available at http://www.dailymail.co.uk/femail/article-3430945/Just-

intelligent-middle-class-girls-send-explicit-pictures-boys-FEMAIL-investigates.html.

      What the alleged victim in this case did with her cell phone is not unusual

activity at all. Not any more at least. According to the sworn trial testimony of the

Government’s own expert – Social Worker Bonnie I. Fries – it is “normal” behavior.

While the teenager here did technically produce child pornography by taking the

photos and making the videos, it is appropriate that these youthful actors are rarely


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charged and prosecuted for their “normal” conduct. It is just as rare, however, for

someone to be charged and prosecuted for producing the photography made by

someone else.

      The federal sentencing guidelines that address and recommend the sentencing

ranges for the production and receipt of child pornography simply were not designed

to recommend appropriate punishment for the conduct of teenaged and young adult

“sexters” for whom this sort of activity is commonplace and “normal.” The sentence

in this case should not be driven by the guidelines for the “child pornography”

convictions at issue in this case, as they are far more severe than necessary to

accomplish the goals of sentencing.

      Undersigned counsel looks forward to addressing further all of the issues raised

in this pleading after having the opportunity to review the Government’s position and

conduct further research on the applicable legal principles.

Dated: 14 January 2022                         Respectfully submitted,

                                               DANIEL L. GERDTS, LAWYER

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